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                          UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

EMPIRE CORVETTE OF AMERICA,
INC.,

                      Plaintiff,

v.                                                           Case No: 6:18-cv-26-Orl-22DCI

JUST TOYS CLASSIC CARS, LLC,

                      Defendant.


                                            ORDER

       This cause comes before the Court on the Motion to Reopen Case and Motion for Final

Judgment after Default (Doc. No. 34) filed October 3, 2018. Defendant has not filed any

opposition. Local Rule 3.01(b).

       Based on the foregoing, it is ordered as follows:

       1.      The Motion to Reopen Case and Motion for Final Judgment after Default (Doc. No.

34) are GRANTED.

       2.      The Clerk is directed to REOPEN the file.

       3.      The Clerk is directed to enter a Judgment in favor of Empire Corvette of America,

Inc., and against Just Toys Classic Cars, LLC, in the amount of $162,000.00, for which let

execution issue.

       DONE and ORDERED in Chambers, in Orlando, Florida on October 23, 2018.
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Copies furnished to:

Counsel of Record




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